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                           IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI

MICHAEL DAILEY and ROBBIN DAILEY,                         )
                                                          )
                  Plaintiffs,                             )
                                                          )
vs.                                                       )
                                                          )   Case No. 4:22-cv-00116-CDP
BRIDGETON LANDFILL, LLC, et al.,                          )
                                                          )
                  Defendants.                             )
                                                          )


                  JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
                         AS TO LANDFILL DEFENDANTS ONLY

       COMES NOW, Plaintiffs Michael Dailey and Robbin Dailey and Defendants Republic

Services, Inc., Allied Services, LLC and Defendant/Third Party Plaintiff Bridgeton Landfill,

LLC (for itself and as successor of Rock Road Industries, Inc. 1) (collectively “Landfill

Defendants”), by and through their attorneys of record, and file their stipulation of dismissal of

the claims of Plaintiffs Michael Dailey and Robbin Dailey against Landfill Defendants with

prejudice. Plaintiffs maintain their claims against Defendant Cotter Corporation and the Landfill

Defendants maintain their cross-claim against Defendant Cotter Corporation. Third Party

Plaintiff Bridgeton Landfill, LLC also maintains its claims against Third-Party Defendants

United States Fidelity and Guaranty Company and St. Paul Fire and Marine Insurance Company.

Each party to pay their own costs.

       IT IS SO STIPULATED.




       1
           Rock Road Industries, Inc. merged into Bridgeton Landfill, LLC, effective April 9, 2018.
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Dated: March 23, 2022              Respectfully submitted,


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